Case 1:25-cv-00131-JAW          Document 1-3        Filed 04/07/25      Page 1 of 2     PageID #: 25



                             ®ffict of t~t l.ttttrnt~ ~tntral
                                   •~g qingt\ltt. il. QI. 20,sgn



                                         February 25, 2025

 Governor Mills,

         This Department of Justice will hold accountable states and state entities that violate
 federal law. Indeed, we have already begun to do so. Earlier this month, the Department of
 Justice sued two states-Illinois and New York-that defied federal immigration laws. We also
 stand ready to sue states and state entities that defy federal antidiscrimination laws.

         President Trump recently directed the Department of Justice and the Department of
 Education to prioritize enforcement actions against athletic associations that deny girls an equal
 opportunity to participate in sports and athletic events by requiring them to compete against
 boys. Yet in response, some state officials in Maine-including yourself-have indicated that
 they intend to continue to require girls to compete against boys in sports and athletic events.
 Indeed, despite initially assuring President Trump that you would "comply with ... federal law,"
 you have since reversed course, stating that "Maine law has addressed" this issue and suggesting
 that the federal government's attempts to enforce federal antidiscrimination laws can only be
 explained by President Trump acting like "a dictator."

         Let me be clear. Requiring girls to compete against boys in sports and athletic events
 violates Title IX of the Educational Amendments Act of 1972. And under the Constitution,
 federal law-including Title IX-is ''the supreme Law of the Land." U.S. Const. Art. VI. It
 therefore does not matter if Maine state law allows, or even requires, state athletic associations or
 other similar entities to require girls to compete against boys in sports and athletic events. Where
 federal and state law conflict, states and state entities must follow federal law-not because we
 live in a dictatorship but because the Constitution requires states to follow the supreme law of the
 land.
         Maine should be on notice. The Department of Education's Office for Civil Rights has
 begun a Title IX investigation into the Maine Department of Education. The Department of
 Health and Human Services' Office for Civil Rights has begun a similar investigation. If these or
 other federal investigations show that the relevant Maine entities are indeed denying girls an
 equal opportunity to participate in sports and athletic events by requiring them to compete
 against boys, the Department of Justice stands ready to take all appropriate action to enforce
 federal law.
Case 1:25-cv-00131-JAW          Document 1-3        Filed 04/07/25      Page 2 of 2     PageID #: 26




         I hope that it does not come to this. The Department of Justice does not want to have to
 sue states or state entities, or to seek termination of their federal funds. We only want states and
 state entities to comply with the law. And federal law requires giving girls an equal opportunity
 to participate in sports and athletic events by ensuring that girls need to compete only with other
 girls, not with boys.




                                                       Qw·  erely,



                                                        am Bondi
                                                       Attorney General
